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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________________x

TREVOR SHAPIRO and
JOHANNA QVIST,                                             23 Civ. 3964 (LGS)

                      Plaintiffs,
                                                           CIVIL CASE
                                                           MANAGEMENT PLAN
                                                           AND SCHEDULING
                                                           ORDER

       -against-

TRUDY JACOBSON and STEPHEN KOMOREK,

                  Defendants.
____________________________________________x

LORNA G. SCHOFIELD, United States District Judge:

        This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
Civ. P. 26(f)(3).

   1. All parties do not consent to conducting all further proceedings before a United State
      Magistrate Judge.

   2. The parties have conferred pursuant to Fed. R. Civ. P. 26(f).


   3. This case is governed by one of the following sets of rules, and the parties proposed dates
      in this order have been adjusted accordingly: N/A


   4. Alternative Dispute Resolution/Settlement


       a. Settlement discussions have not taken place.
       b. Counsel for the parties have discussed an informal exchange of information in aid of
          early settlement and have agreed to exchange the following:
                  All documents that either side believes will help the other evaluate the
                  strength of their case or defense, to be produced within sixty days of this
                  order.
       c. Counsel for the parties have discussed a settlement conference before a Magistrate
          Judge, subject to endorsement by both parties after the close of preliminary discovery
          that such conference is believed to be worthwhile.
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    d. The settlement conference contemplated by 4(c), above, shall take place within sixty
       days of the close of the preliminary discovery phase of this case.
    e. The use of any alternative dispute resolution mechanism does not stay or modify any
       date in this Order.

5. No additional parties may be joined after 8/25/23 without leave of Court.

6. Amended pleadings may be filed without leave of Court until 8/25/23.

7. Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than 14
   days from the date of this Order.

8. Fact Discovery

    a. All fact discovery shall be completed no later than 10/26/23.

    b. Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall be
       served by 7/26/23.

    c. Responsive documents shall be produced by 8/25/23. The parties do not currently
       anticipate e-discovery.


    d. Interrogatories shall be served by 8/25/23.


    e. Depositions shall be completed by 10/16/23.


    f. Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by 9/26/23.


    g. Any of the deadlines in paragraph 8(b) through 8(f) may be extended by the written
       consent of all parties without application to the Court, provided that all fact discovery
       is completed by the date set forth in paragraph 8(a).


9. Expert Discovery

            The parties do not currently anticipate expert discovery, but agree that if there is
            any expert discovery, it shall be completed no later than 45 days from the
            completion of fact discovery on 10/26/23.

10. This case is to be tried to a jury.

11. Counsel for the parties have conferred and their present best estimate of the length of trial
    is five (5) days.


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   12. Other issues to be addressed at the Initial Pretrial Conference:


               The proposed motion to dismiss as set forth in Ms. Jacobson’s pre-motion letter to
               the Court.


   13. Status Letters and Conferences


       a. By 8/25/23 the parties shall submit a joint status letter, as outlined in Individual Rule
          III.D.3.

       b. By 11/9/23 the parties shall submit a joint status letter as outlined in Individual Rule
          III.D.3 and, unless a settlement conference has already taken place, advise the Court
          whether or not they request a referral for settlement discussions as provided in
          Paragraph 4(c) above.

       c. On _________________ at ____________a.m. a pre-motion conference will be held
          for anticipated dispositive motions, provided:


             i. A party wishing to file a summary judgment or other dispositive motion shall
                file a pre-motion letter at least two weeks before the conference in the form
                provided in the Court’s Individual Rule III.A.1. Any party wishing to oppose
                shall file a responsive letter as provided in the same Individual Rule. The
                motion will be discussed at the conference. To joint the conference, the parties
                shall call 888-363-4749 and use Access Code 558-3333. The time of the
                conference is approximate, but the parties shall be ready to proceed at that time.

             ii. If no pe-motion letter is timely filed, this conference will be canceled and the
                 matter placed on the Court’s trial ready calendar.


        This Order may not be modified on the dates herein extended, except as provided in
paragraph 8(g) or by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein, except as provided in paragraph 8(g), shall be made in a
written application in accordance with the Court’s Individual Rules and shall be made no less
that 2 business days prior to the expiration of the date sought to be extended .
        Notwithstanding any other rules governing discovery or other deadlines, the parties shall
follow the deadlines set forth herein unless expressly ordered otherwise by the Court.
       The Clerk of the Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c)
and 13(a)-(c) into the Court’s calendar, and to schedule the conference under paragraph 13(c) as
a Pre-Motion Conference, even though the conference will be held by telephone.



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       SO ORDERED.
Dated: _______________                           _________________________
      New York, New York                         LORNA G. SCHOFIELD
                                                 United States District Judge


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